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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,          )
                                       )
            Plaintiffs,                )
                                       )
vs.                                    )
                                           No. 1:17-cv-00365-LY-AWA
                                       )
GRANDE COMMUNICATIONS                  )
NETWORKS LLC,                          )
                                       )
            Defendant.
                                       )


        DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
            REPLY IN SUPPORT OF ITS MOTION TO STRIKE THE
      “REBUTTAL” EXPERT REPORT OF BARBARA FREDERIKSEN-CROSS




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       The issue before the Court is whether it is permissible for Plaintiffs to: (i) serve an expert

report consisting primarily of recycled analyses from a years-old report in a different lawsuit; (ii)

receive a rebuttal report laying out the flaws in that opening report, and a summary judgment

motion identifying the deficiencies in their case; and then (iii) serve a sur-rebuttal report, seeking

to replace the flawed analyses and errors in the original report, and identifying new evidence and

opinions regarding matters already addressed by the expert. The answer must be “No.”

       Plaintiffs elected to recycle Ms. Frederiksen-Cross’s analyses and opinions from years

ago in the Cox case. Those analyses and opinions turned out to be severely flawed, and did not

address the particular deficiencies subsequently raised in Grande’s summary judgment motion.

There is no basis for Plaintiffs to now serve an unauthorized sur-rebuttal report—relying on new

evidence never properly identified in discovery—that attempts to plug the holes in their opening

report and case. Plaintiffs are seeking potentially tens of millions of dollars in damages and they

should be required to play by the rules.

I.     THE FREDERIKSEN-CROSS SUR-REBUTTAL IS AN ATTEMPTED DO-OVER

       The parties’ correspondence demonstrates the mutual understanding that each side would

be allowed to serve (i) opening reports; and (ii) rebuttals to the other side’s opening reports. On

February 15—more than a month after the Court entered the Scheduling Order—Plaintiffs’

counsel confirmed this understanding in an email between counsel:




See Ex. 1 (2/15/2018 Email) (highlighting added). This clearly reflected the parties’

understanding—prescribed by the Scheduling Order—that each side would serve only one report

on a given issue. On May 10, Plaintiffs’ counsel again proposed dates distinguishing between

“Opening Expert Reports” and “Rebuttal Reports,” further demonstrating the parties’ mutual


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understanding regarding the protocol for conducting expert discovery. Ex. 2 (5/10/2018 Email).

       Nothing in the parties’ correspondence or actions contemplated sur-rebuttal reports. The

prospect of a sur-rebuttal did not arise until Plaintiffs recognized the severe flaws in the

Frederiksen-Cross opening report and sought to “update” it with a new, “do-over” report.

II.    NO AUTHORITY PERMITS THE FREDERIKSEN-CROSS SUR- REBUTTAL.

       A.      The Court’s Scheduling Order Does Not Authorize a Sur-Rebuttal.

       The Court’s Scheduling Order does not provide for rebuttals to rebuttal reports. By its

plain terms, the Order permits each side to serve only one report on a given issue. See

Scheduling Order at ¶ 2 (ECF No. 66). Plaintiffs’ parsing of the Scheduling Order (Pls.’ Opp. at

2), while creative, finds no basis in logic, nor in the long-standing practice of this Court.

Plaintiffs cannot cite a single case supporting their position that the language of the Scheduling

Order—language that this Court has used for years—permits service of sur-rebuttal reports.1

       B.      Rule 26(e) Does Not Authorize the Frederiksen-Cross Sur-Rebuttal.

       Plaintiffs pivot from calling the Frederiksen-Cross report a “rebuttal” to calling it a

“supplement” in an attempt to find shelter in Rule 26(e).2 See Pls.’ Opp. at 1. But “[c]ourts have

made it clear that supplemental expert reports cannot be used to ‘fix’ problems in initial reports.”

Cooper Tire and Rubber Co. v. Farese, No. 3:02-cv-210, 2008 WL 5104745 (N.D. Miss. Nov.

26, 2008) (citation omitted); Simmons v. Johnson, No. 3:06-cv-325, 2008 WL 474203, at *2



1 In the only case that Plaintiffs cite concerning the Court’s order, the Court did not find that sur-
rebuttals are permitted. See Bd. of Regents v. KST Elec., Ltd., No. 1:06-cv-950-LY, 2007 WL
4790801, at *1 (W.D. Tex. Oct. 9, 2007). Rather, the Court permitted service of the report in
question only after determining that it was a proper rebuttal report. Id.
2 Plaintiffs appear to concede that Rule 26 does not permit a sur-rebuttal. See, e.g., Wal-Mart
Stores, Inc. v. Tex. Alcoholic Beverage Comm’n, No. 1:15-cv-134-RP, 2017 WL 9480314, at *2
(W.D. Tex. May 22, 2017); BCC Merchant Solutions, Inc. v. JetPay, LLC, No. 3:12-cv-5185,
2016 WL 3264283, at *4 (N.D. Tex. Feb. 19, 2016).


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(M.D. La. Feb. 14, 2008) (“Courts have routinely rejected untimely ‘supplemental’ expert

reports and testimony where the opinions are based upon information available prior to the

deadline for service of initial expert reports.”). The Frederiksen-Cross sur-rebuttal is a clear and

obviously improper attempt to “fix” the flaws exposed by Cohen’s rebuttal to Plaintiffs’ original

Frederiksen-Cross report. See Grande Mot. at 5-9 (and below).

III.   PLAINTIFFS MISCHARACTERIZE THE MAGNITUDE OF THE
       AMENDMENTS IN THE FREDERIKSEN-CROSS SUR-REBUTTAL REPORT

       The duty to supplement under Rule 26(e) is “not an opportunity to provide information

previously omitted” or “an opportunity for a party to circumvent the Rule 26 requirement that an

expert report contain ‘a complete statement of all opinions the witness will express and the basis

and reasons for them.’” BCC Merchant Solutions, Inc. v. JetPay, LLC, No. 3:12-cv-5185, 2016

WL 3264283, at *3 (N.D. Tex. Feb. 19, 2016). Here, Plaintiffs are attempting to use the

Frederiksen-Cross sur-rebuttal to rewrite the opening report, expressing new opinions and

relying on new information that has been available to Plaintiffs since the inception of this case.

       A.      The So-Called “Scrivener’s Error” is a Deliberate Opinion Now Offered in
               Two Cases.

        There is no “scrivener’s error” in the Frederiksen-Cross opening report. See Pls.’ Opp.

at 5. The error in question is Frederiksen-Cross’s characterization of the “SampleIt3” process in

Rightscorp’s software. See Grande’s Mot. at 7-8. Frederiksen-Cross offered the very same

characterization of the Rightscorp system in the prior Cox litigation—and the opposing expert

disagreed with her opinions in that case. See Cohen Report, ¶ 95 (ECF No. 177-2).

Frederiksen-Cross doubled down on her position when she offered the same opinion in this case,

and she got it wrong. Ms. Frederiksen-Cross’s characterization of the Rightscorp system is not a

“harmless typographical error” and is not proper material to be “corrected” in sur-rebuttal.




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       B.      Each and Every Update to Ms. Frederiksen-Cross’s Opinions Is Based on
               Previously-Available Information.

       Plaintiffs argue that information from the deposition of Mr. Boswell, the Chief

Technology Officer of Rightscorp, necessitated an “update” to the Frederiksen-Cross report. Id.

This is simply not credible: Ms. Frederiksen-Cross relied on discussions with Mr. Boswell in

drafting her opening report, which she completed before Mr. Boswell was deposed. See

Frederiksen-Cross Opening Report, ¶ 11 (ECF No. 177-1). Plaintiffs lack any basis for using the

Boswell deposition as a pretext to “fix” the opening report. See also Grande’s Mot. at 9

(improper bolstering of opinions not addressed by Dr. Cohen in rebuttal, based on previously-

available evidence), 9 n.6 (various other “fixes” based on previously-available information).

Plaintiffs have asserted on numerous occasions that Rightscorp and its personnel are acting as

their litigation consultants. See, e.g., Order at 4 (ECF No. 191). As a result, Fredericksen-Cross

has had access to Mr. Boswell and the Rightscorp software since before Plaintiffs filed this case.

IV.    THE FREDERIKSEN-CROSS SUR-REBUTTAL IMPROPERLY INTRODUCES
       NEW EVIDENCE IN VIOLATION OF RULE 37(c)(1)

       Plaintiffs’ insistence that they properly identified the evidence Frederiksen-Cross now

relies on in her sur-rebuttal is, at best, misleading. During discovery, Grande served contention

interrogatories that specifically required Plaintiffs to disclose the complete evidentiary basis for

their allegations of direct infringement. See Sony Plfs’ Obj. & Resp. to 2nd Interrogs. at 1-8

(ECF No. 112-2) (seeking identification of all evidence supporting “the specific act of direct

infringement” committed by Grande’s subscribers). Plaintiffs’ responses to those interrogatories

never identified the 59,000 music files produced by third party Rightscorp or any evidence

regarding the RIAA’s purported “verification” of those files (the latter of which was not




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identified in any interrogatory answer).3 Id.; see also Grande’s Mot. at 10. Plaintiffs offer no

excuse for failing to identify this evidence.

       In their response, Plaintiffs accuse Grande of making “flatly untrue” assertions regarding

the nature of Plaintiffs’ interrogatory answers. Grande disagrees. It is wholly inappropriate for

Plaintiffs to point to an interrogatory response seeking information regarding the relationship

between Rightscorp and Plaintiffs as a disclosure of Plaintiffs’ intention to rely on 59,000 music

files as part of its case against Grande. See Univ. Pls.’ Resp. to Interrog. No. 20 (ECF No. 173-

96). It is not Grande’s responsibility to borrow statements from unrelated interrogatories to

piece together the set of evidence that Plaintiffs intend to rely on to support their claims.

       Put simply, Grande sought identification of Plaintiffs’ evidence of direct infringement;

Plaintiffs failed to identify the evidence at issue; and Plaintiffs now seek to offer a sur-rebuttal

expert report that relies on that new evidence for the first time—specifically as evidence of direct

infringement. Rule 37(c)(1) forecloses these kinds of skate and shoot tactics.4 Furthermore,

even if the evidence had been properly identified in discovery, Ms. Frederiksen-Cross failed to

identify or refer to it in her opening report, even though it was clearly available and relevant to

her opinions. Whether the result of design or delinquency, the Court should prohibit Plaintiffs

from introducing new evidence for the first time through an improper sur-rebuttal report.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant this Motion and strike the August 31,

2018 Rebuttal Expert Report of Barbara Frederiksen-Cross.



3 Plaintiffs had access to these files well before filing this lawsuit and do not dispute that fact.
4 Plaintiffs’ failure to timely disclose this evidence and its expert opinions regarding this
evidence has, among other things, severely prejudiced Grande’s ability to prepare and offer
meaningful rebuttal expert testimony on these issues.


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Dated: September 28, 2018


                                             Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 28, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Richard L. Brophy
                                                   Richard L. Brophy




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